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ATTORNEYS FoR MDS, Inc.
and MDS Pharma Services (US) Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

MDS INC, and MDS PHARMA SERVICES : HONORABLE Freda L. Wolfson
(US) INC., Civil Action No. 07-3207 (FLW)

Plaintiffs,
STIPULATION OF DISMISSAL

v. WITH PREJUDICE

COVANCE INC. and NIGEL BROWN,

Defendants.

The matter in difference in the above-entitled action having been amicably adjusted
by and between Plaintiffs MDS Inc. and MDS Pharma Services (US) Inc, and Defendants Covance
Inc. and Nigel Brown, it is hereby stipulated and agreed that the Complaint against Defendants be

and the same is hereby dismissed with prejudice and without costs against either party.

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DAY PITNEY LLP
Attorneys for Plaintiffs
MDS Inc. and MDS Pharma
Services (US) Inc.

fo)
ay: — Clown +av8
MAUREEN C. PAVELY
For the Firm

Dated:

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LITTLER MENDELSON, P.C.
Attorneys for Defendants
Covance Inc. and Nigel Brown

By: J 0 fA.

WILIZAM J. LEAHY d_

Dated: / ff ve

